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                                   UNITED STATES DISTRICT COURT
                                  CENTRAL DISTRICT OF CALIFORNIA

                                                                   CASE NUMBER:


  STEPHANIE CLIFFORD                                                 2:18−cv−02217−SJO−FFM
                                                   Plaintiff(s),

           v.
  DONALD J. TRUMP, et al.
                                                                     NOTICE TO FILER OF DEFICIENCIES IN
                                                 Defendant(s).       ELECTRONICALLY FILED DOCUMENTS




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                                                       Deputy Clerk

  cc: Assigned District Judge and/or Magistrate Judge



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